       Case 1:21-cr-00043-CJN Document 28 Filed 11/02/21 Page 1 of 11




                 THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
                                    )
            v.                      )          1:21-cr-00043 (CJN)
                                    )
RASHA ABUAL-RAGHEB                  )
                                    )
___________________________________ )



         DEFENDANT’S MEMORANDUM IN AID OF SENTENCING


      On January 5, 2021, Ms. Abual-Ragheb boarded a train travelling

from New Jersey to Washington, D.C. She was not “in the mood to go”

but knew her friends would come “drag” her out of the house. (FB post,

01-03-2021, 23:43:14 UTC). She had attended two previous rallies in the

District of Columbia in support of President Trump, one on November 14,

2020, and the second one on December 12, 2020. For the mother of three,

whose life had been plagued with very difficult times, her participation in

those previous rallies included dancing, fun, camaraderie and a sense

and feeling of duty, purpose and belonging. She decided to go “even

though [she] lost all [her] passion” because it was “better than staying

home.” (FB Post, 01-03-2021, 23:52:10 and 23:55:33 UTC).

 During the December rally she dressed in a ruby red Christmas dress

and Christmas hat. (Attachment A). For the January 6 rally and protest
          Case 1:21-cr-00043-CJN Document 28 Filed 11/02/21 Page 2 of 11




she decided to wear a red, white and blue tutu. This outfit would be easy

to dance in. She brought a small fanny pack which she wore around her

waist and had on other Americana clothing in red, white, and blue, plus

winter boots, after all it was the middle of winter. (Attachment B). With

that outfit on, she made her way down from the hotel where she stayed

the night before, to hear President Trump speak on January 6. She was

elated to hear him speak in person. After he finished speaking, she

moved with the crowd of people around her in the direction of the

Capital. The Trump campaign had sent her a list of events taking place

in D.C. on January 5-6, which she posted on Facebook (see Govt. Br. at

5). She believed all the events had been granted permits. 1

        As she made her way down Pennsylvania Avenue on January 6, and

up to the Capital she did not see people pushing past barricades, nor did

she see any of the violence perpetrated by other persons in the crowd

against police. She was not near those persons nor in a position to see

what they were doing At 2:07 p.m. she was near the street behind the

capital. (Attachment C). At 2:39 p.m. she was near the Capital,

(Attachment D); and by 2:53 p.m. she was by the north west side of the

Capital. (Attachment E). At 3:13 p.m. she along with a stream of others

nearby, entered the Capital. Video footage show her enter the Capital

around 3:13. She only walked into the area immediately by the entrance.


1
  She was unfamiliar with the site and group and she did not go to the WildProtest.com website as the prosecution
did.


                                                       2
       Case 1:21-cr-00043-CJN Document 28 Filed 11/02/21 Page 3 of 11




She walked no further, not down a hallway, nor up a flight of stairs. She

did not hang out in the building but rather gave a random passerby her

cellular phone to take her picture. (Attachment F). Once the picture was

taken, she reached her arm back to reclaim her phone and then

immediately turned to begin her walk out the door. Because of the

stream of persons entering the building, it took a while to walk out the

door, even though she was very near the exit. In all, she was inside less

than 2 minutes. That was the extent of her entry into the building.

 Ms. Abual-Ragheb chanted outside the building at various times, she

walked around, talked with others, and also noticed someone she believed

to be Antifa arguing with a journalist. She yelled out to police to alert

them to the argument but police remained unresponsive. Finally,

another protestor grabbed the man who was aggressively antagonist

towards the journalist and walked him out of the area.

 The prosecution acknowledges that Ms. Abual-Ragheb did nothing on

January 6 while at the Capital that merits the 30 day sentence they

request. Instead they rely on Facebook posts posted by Ms. Abual-

Ragheb either leading up or after January 6, to recommend this

unwarranted sentence.

 I.     Procedural Background

      Ms. Abual-Ragheb was arrested at her home on January 19, 2021, in New

Jersey. Her children were home with her. Agents stayed with her children, got them




                                        3
          Case 1:21-cr-00043-CJN Document 28 Filed 11/02/21 Page 4 of 11




donuts and cooked them mac and cheese. She remains grateful to the law

enforcement who were so kind and gentle with her children. She spoke with law

enforcement over a four hour period, answering all their questions and even

reviewing her cellular phone with them. To say she cooperated with law enforcement

during that interview, is an understatement. She was remorseful during the

interview. She was released the same day she was arrested. Her first appearance

before this Court was on January 25, 2021. All the hearings in this matter before our

Court have been virtual.

         On August 23, 2021, Mr. Abual-Ragheb entered a guilty plea before the Court

to Count 4, of the four count indictment in this case, charging her parading,

demonstrating or picketing in a Capital Building, in violation of 18 U.S.C.

§5104(e)(2)(G). Sentencing is currently scheduled on November 23, 2021.

         II.   Statutory Framework/Guidelines

         The offense of parading, demonstrating or picketing in a Capital Building in

violation of 18 U.S.C. §5104(e)(2)(G), is a Class B Misdemeanor offense carrying a

possible sentence of not more than 6 months and a fine of not more than $5,000. As

the offense is a Class B Misdemeanor the guidelines are inapplicable. Ms. Abual-

Ragheb has no prior convictions. A sentence of probation is the appropriate

sentence.

  III.     Facebook Posts

  The government cites to various Facebook posts written by Ms. Abual-Ragheb to

support their draconian recommendation of 30 days jail time. Some of these posts,




                                            4
          Case 1:21-cr-00043-CJN Document 28 Filed 11/02/21 Page 5 of 11




Ms. Abual-Ragheb admits were stupid, others were not true, some were

exaggerations, others were not clearly expressed due to English being her second

language and others were taken out of context. Firstly, Ms. Abual-Ragheb never

intended to be part of a “civil war” when she came to the Capital on January 6. She

showed up wearing a tutu to dance, during her protest. It’s clear that she never

intended to participate in a civil war at the Capital because she did not show up

wearing a tactical vest, gas mask, ballistic helmet, body armor, radio equipment,

military style backpack, shield, or pitchfork or any of the other battle type

armament. Her appearance and what she wore clearly shows her real intent.

    She genuinely believed that the vote she cast was not counted. She voted and

then did a voter search which indicated inactive status. (See Attachment G).                            So

when she wrote “My vote still not Count” it was in reference to the search results.

She also believed the stories about peoples kids being taken by elected Democrat

officials and so as a mother she inarticulately wrote that someone would have to kill

her before taking her children away. (November 5, 2020, post).

    She acknowledges that it was stupid of her to claim that she was bringing “toys”

with her and to write that others should bring their guns.2 She was concerned that

supporters of Black Lives Matter would be violent and wrote the post in the context

of protecting herself from those supporters. Ms. Abual-Ragheb never brought any

weapons with her to D.C. When law enforcement came to her residence to arrest




2
 It was in a private message between Abual-Ragheb and another individual that she claimed to be bringing pepper
spray and toys.


                                                      5
        Case 1:21-cr-00043-CJN Document 28 Filed 11/02/21 Page 6 of 11




her they also searched her home. No weapons were found because she never

possessed any.

 She does recall chanting while at the Capital but does not recall saying expletives.

She followed the chants of what others around her were chanting. Further, Ms.

Abual-Ragheb never intended to burn anything down. In a very inartful way, again

English not being her first language, she tried to express the disparity in treatment

over the police response against the protestors on January 6, while other people,

such as Black Lives Matter supporters who engaged in burning down businesses

and other buildings were allowed to do so without repercussions. When she was

inside the Capital for her less than 2 minute time period she did not see anyone

trying to burn or destroy the building and yet she saw reports of police hitting

protestors on January 6. Ms. Abual-Ragheb was merely trying to express how some

people could get away with burning buildings while some January 6, protestors

were struck by police.

 Ms. Abual-Ragheb also claimed in a Facebook post that she was present inside the

building when Ashli Babbitt was shot. The shooting occurred at approximately 2:44

p.m. Yet Mr. Abual-Ragheb did not enter the Capital until around 3:13 p.m. and she

was no where near Ms. Babbitt at the time of the shooting. This post is very telling,

as it shows that Ms. Abual-Ragheb does exaggerate when she writes posts, whether

she writes about that shooting or about a civil war, and that one cannot take her

posts seriously. Two days after January 6, when she wrote about a civil war

coming, she repeated a phrase she had heard others say. She saw that people at the




                                          6
         Case 1:21-cr-00043-CJN Document 28 Filed 11/02/21 Page 7 of 11




Capital were angry but just as earlier posts were exaggerations so to was the

statement that she would be happy to be a part of it.

  Ms. Abual-Ragheb should not receive jail time for her inartful and exaggerated

posts. She never acted upon these posts and she regrets having made the posts.

Her conduct at the Capital on January 6, shows she has more “bark than bite.” As

the saying goes actions speak louder than words. Ms. Abual-Ragheb’s actions show

that she came to the Capital on January 6, she rallied, she protested, she danced,

she entered the Capital for less than two minutes, she got a photograph then turned

and exited the inside of the building, she chanted with others outside and then she

left.

        IV. Additional Sentencing Factors Pursuant to 18 U.S.C. §3553

        Ms. Abual-Ragheb moves this court to sentence her to probation. Such

sentence amounts to a “reasonable” sentence in this case. A sentence of jail time

would be overly punitive, unreasonable, and is not warranted in this case. In

conjunction and consideration of the other §3553(a) sentencing factors the court

must take into account, such a sentence is reasonable and just.

        (a) Reflect seriousness of the offense and promote respect for the
        law, 18 U.S.C. §3553(a)(2)(A)

        Ms. Abual-Ragheb’s actions at the Capital support a sentence of probation.

As explained above, she came to the Capital dressed in a tutu not in battle gear.

She never expected things to get out of hand like they did. She

anticipated another rally of dancing and camaraderie. She came to




                                          7
           Case 1:21-cr-00043-CJN Document 28 Filed 11/02/21 Page 8 of 11




exercise her First Amendment right to protest the election results but

never with the intention to actually change the outcome of the election.


        (b)      Ms. Abual-Ragheb’s Personal Characteristics

        Ms. Abual-Ragheb was born and raised in Jordan. Although her family was

wealthy she grew up under a strict father who arranged her marriage. She moved

to the United States to live with her husband. She had her first child with her

husband but endured physical and emotion abuse and she ended the marriage.

Ms. Abual-Ragheb believes due to her ending the marriage her family considers her

to have brought shame to the family and she is under threat of death if she were

return to Jordan.3

        She fared no better in her next relationship. Although two children resulted

from this second relationship, she now has sole custody of the children due to the

physical and mental abuse she suffered during this relationship as well.4

        Ms. Abual-Ragheb suffers from mental health issues due to all the difficulties

growing up as well as what she endured during the relationships with the father of

her children. She has consistently been attending treatment and receiving

medications since her arrest in this case.


        (c)      Family Circumstances Warrants the Sentence Requested




3
 The presentence report provides additional details of the difficulties in her life.
4
 Due to the troubles she encountered with the fathers of her children, she is part of the address confidentiality
program for domestic violence victims. Her arrest unfortunately has brought her into the lime light and she has
concerns for her and her children’s safety.


                                                         8
        Case 1:21-cr-00043-CJN Document 28 Filed 11/02/21 Page 9 of 11




      Ms. Abual-Ragheb has three children, two of whom are school-aged and need

her mental, emotional, and financial support. As the fathers of the children cannot

be in the children’s lives, there is no one else to take care of the children.

      Compelling family circumstances can provide a basis for a variance under the

guidelines as well as a downward departure. See United States v. Schroeder, 536

F.3d. 746, 755-56 (7th Cir. 2008) (“Although the concept of departures has been

rendered obsolete in post-Booker sentencing the district court may apply those

departure guidelines by way of analogy in analyzing the section 3553(a) factors.”)

(internal citations omitted); see also United States v. King, 201 F.Supp.3d 167

(D.D.C. 2016) (finding the defendant did not meet §5H1.6 requirements but

nevertheless decided that a variance was appropriate for a variety of reasons

including caretaking and family responsibilities). Here the guidelines do not apply

but compelling family circumstances exist in support of a non-prison sentence.


(d) To Sentence Abual-Ragheb to a Term of Prison would Result in an
Unwarranted Disparity

      Sentences of probation with conditions have been consistently imposed on

persons who plead to the same misdemeanor offense as did Ms. Abual-Ragheb.

Thus to sentence her to jail time would cause an unwarranted disparity. Although

in their pleading, the government was quick to quote Judges’ who stated that

probation may not always be appropriate, those very Judges imposed sentences of

probation. Chief Judge Howell and Judges Lamberth, Boasberg, McFadden, Hogan,




                                            9
          Case 1:21-cr-00043-CJN Document 28 Filed 11/02/21 Page 10 of 11




Friedman, and this Court have all imposed sentences of probation with conditions.5

There is no basis to deviate from such sentence here. Even considering the

government’s proposed list of factors at page 13 of their pleading, favors a probation

sentence consistent with that imposed on others.



(e) Deterrence

        A sentence of probation is more than sufficient to address any deterrence

concerns. Ms. Abual-Ragheb has already suffered consequences as a result of her

actions on January 6. Her two children were ostracized and bullied at school,

causing her to have to pull them out of school to home school them. Fortunately,

due to the kindness of a stranger who became aware of her situation, she received

monies to pay for the home schooling program. Likewise Ms. Abual-Ragheb found it

difficult to locate employment and when she did, the employer took advantage of

her requiring her to seek law enforcement assistance to receive her pay. She

currently is unemployed.

        More significantly her mental and physical health has suffered. She believes

she may have suffered a mild stroke due to the stress. She found herself grinding

her teeth at night causing her to break a tooth. The anxiety caused various sleeping

and digestive problems as well. Her life has been filled with angst since her arrest.

        V.       Conclusion




5
 See cases: 1:21-cr-227; 1-21-cr-238; 1:21-cr-324; 1:21-cr-97; 1:21-cr-41; 1:21-cr-204; 1:21-cr-391; 1:21-cr-164;
1:21-cr-68; 1:21-cr-204; 1:21-cr-355.


                                                        10
       Case 1:21-cr-00043-CJN Document 28 Filed 11/02/21 Page 11 of 11




      Ms. Abual-Ragheb urges this Honorable Court sentence her to probation as

has been done in almost all the other cases of defendants pleading to a

misdemeanor offense. A sentence other than that is unwarranted and would cause

an undue hardship on her family.



                                       Respectfully submitted,

                                       OFFICES OF ELITA C. AMATO


                                              /s/
                                       Elita C. Amato, Esq.
                                       2111 Wilson Blvd.
                                       8th Floor
                                       Arlington, VA 22201
                                       Tele: 703-522-5900



                            CERTIFICATE OF SERVICE
I hereby certified that this Memorandum was filed using the ECF pacer system,
thereby providing notice of service to government counsel Michael C. Liebman, Esq.,
on this 2nd day of November 2021.


                          /s/
                   _______________________________
                   Elita C. Amato




                                         11
